Case 2:04-Cr-20148-BBD Document 147 Filed 06/14/05 Page 1 of 3 Page|D 200

PROB. IZRCV. 3/83)

f‘” zuus.n_m lt PH 3=‘05
WESTERN DISTRIC'I` OF TENNESSEE

_-_-__-_*_'_‘_"___“‘_" ROBEP{Y. 231 iii `i'if)l,l@

QLEHK. sss east or
u.s.A. vs. Nader BAHHUR pocket No. MEM§@::MPHIS

 

Petition on Probation and Supervised Release

COMES NOW DLXI K. Butler PROBATION OFFICER OF THE COUR'I` presenting an oiiiciai
report upon the conduct and attitude of Nader Bahhur who was placed on supervision by the Honorable Bemice
B. Donald, sitting in the Court at Mernphis, TN on the grid day of August, 2004, who fixed the period of
supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Speciai Conditions and terms as follows:

 

 

(1) The defendant shall participate in the Home Detentien program for a period of six (6) months.
(Completed)

(2) 'I`lle defendant shall pay restitution in the amount of $137,550.00 (Baiance: $136,319.24)
(3) The defendant shall pay a fine in the amount of $1,500.00. (Balance: $1,500.00)

* Term of Supervision began on August 2, 2004
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Based upon his residence, Nader Bahhur’s supervision was transferred to the United States Probation Oiiice,
Southern District of Florida (Hollywood). After a review of the nature and circumstances of Nader Bahhur’ s instant

offense and his self-employed status, this officer agrees with the U. S. Probation Office SD/FL/Hollywood that third
party risk exists

PRAYING THAT THE COURT WILL ORDER that Nader Bahhur be required to make the appropriate third
party risk notifications.

ORDER OF COURT Respectfully,

sidered and or ered this ZOMday 601 Q ‘;Y¢ K,¢.../é&/\

200 and ord d filed and pawl K. B€iuer
the above case. Unjted States Probation Oflicer

. ,.. ,,~AX Place Mern his Tennessee

j€nite'd States District Judge \

 
 
 
 

 

Date J___une 8. 2005

Thls document entered on the dockets

v l c ‘
with Hule 55 and/or 32{b) FRCrP on ha a

 

 

COURT - W'"ERNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 147 in
case 2:04-CR-20148 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Frederick Robbins

ROBBINS TUNKEY ROSS AMSEL RABEN WAKMAN & EIGLARSH

Lawyers Plaza, 4th Floor
2250 SouthWest 3rd Ave.
l\/liami7 FL 33129--209

Lee Wilson

WILSON & WRIGHT
50 N. Front St.

Ste. 640

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Case 2:04-Cr-20148-BBD Document 147 Filed 06/14/05 Page 3 of 3 Page|D 202

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. l3 l3

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

